                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


 UNITED STATES OF AMERICA,                      )
                                                )
                                Plaintiff,      )
                        v.                      )       No. 3:05-CR-32
                                                )       (PHILLIPS/GUYTON)
 JEREMY ROBBINS,                                )
 DIANE SHANDS ROBBINS, and                      )
 VAIRAME TEDESCO,                               )
                                                )
                                Defendants.     )


                                  MEMORANDUM AND ORDER

                This case came before the Court on November 30, 2005 for a hearing on the

 government’s Motion For Reciprocal Discovery [Doc. 239] filed on November 21, 2005. Hugh B.

 Ward, Jr. was present for the government. James A.H. Bell and Richard Gaines were present for the

 defendant Jeremy Robbins. Jonathan Cooper was present for the defendant Vairame Tedesco. Jeffrey

 Z. Daniel was present for the defendant Diane Shands Robbins. The defendant Jeremy Robbins also

 was present.

                The government’s motion asks the Court to order the defendants to produce reciprocal

 discovery on or before December 12, 2005. The government relies on Rule 16(b)(1)(A) and (B) of the

 Federal Rules of Criminal Procedure, arguing that it has produced its discovery and defendants should

 reciprocate. In addition, the government notes that the Court has scheduled hearings on the

 defendants’ pending motions, including Motions to Suppress Evidence, for January 9 and 10, 2006.

 The government argues that it should have the defendants’ reciprocal discovery prior to those hearings,

 because the defendants may attempt to use reciprocal discovery evidence at those hearings.




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                 In opposition to the Motion, the defendants also rely on Rule 16(b). They say that

 under Rule 16, the government must file a “Notice of Completion of Discovery” before reciprocal

 discovery is triggered. Defendants say that the government still is in the process of making discovery.

 Moreover, defendants argue that even when the obligation to make reciprocal discovery is triggered,

 the defendants need only produce discovery limited to the defendants’ “case in chief,” and not until

 on or before the pretrial conference. In the present case, the pretrial conference is scheduled for March

 29, 2006.

                 The Court makes the following rulings:

         1. Rule 16(b)(1)(A)(ii) provides that a defendant, having requested and received
         discovery from the government of “documents and objects” under Rule 16(a)(1)(E),
         must make reciprocal discovery of documents and objects to the government if the
         defendant “intends to use the item in the defendant’s case-in-chief at trial.” The Court
         orders that this reciprocal discovery be produced no later than March 29, 2006.

         2. Similarly, Rule 16(b)(1)(B)(ii) provides that a defendant, having requested and
         received discovery from the government of “Reports of Examinations and Tests” under
         Rule 16(a)(1)(F), must make reciprocal discovery of reports and results of
         examinations and tests if the defendant “intends to use the item in the defendant’s case-
         in-chief at trial, or intends to call the witness who prepared the report and the report
         relates to the witness’s testimony.” The Court orders that this reciprocal discovery be
         produced no later than March 29, 2006.

         3. Rule 16(c) imposes on the government and the defendants a continuing duty
         to disclose. The Court expects the government and the defendants to comply with their
         respective obligations under Rule 16(c).

         4. Rule 16 does not impose on the government an obligation to file a “Notice of
         Completion of Discovery,” and therefore, the Court does not order such a notice to be
         filed.

         5. The Motion For Reciprocal Discovery [Doc. 239] is DENIED.

                 IT IS SO ORDERED.

                                                 ENTER:


                                                       s/ H. Bruce Guyton
                                                 United States Magistrate Judge


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